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 1   Dan Stormer, Esq. [S.B. # 101967]
     Brian Olney, Esq. [S.B. #298089]
 2   Cathi Choi, Esq. [S.B. #342458]
     HADSELL STORMER RENICK & DAI LLP
 3   128 N. Fair Oaks Avenue
     Pasadena, California 91103
 4   Telephone: (626) 585-9600
     Facsimile: (626) 577-7079
 5   Emails: dstormer@hadsellstormer.com
             bolney@hadsellstormer.com
 6           cchoi@hadsellstormer.com
 7   Attorneys for Plaintiff
     KARL AUGUSTUS
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11
                               UNITED STATES DISTRICT COURT
12
                           CENTRAL DISTRICT OF CALIFORNIA
13
      KARL AUGUSTUS,                           Case No.:
14
                                               COMPLAINT FOR DAMAGES:
15                     Plaintiff,
                                               1. 42 U.S.C. § 1983, 4th and 14th
16          v.                                    Amendments: Unreasonable Seizure
17    CITY OF LOS ANGELES; CHIEF               2. 42 U.S.C. § 1983, 4th and 14th
      MICHEL MOORE; and DOES 1- 10.               Amendments: Unreasonable Search
18
                      Defendants.              3. 42 U.S.C. § 1983, 4th and 14th
19                                                Amendments: Excessive Force
20                                             4. 42 U.S.C. § 1983, 4th and 14th
                                                  Amendments: Failure to Intervene
21
                                               5. Bane Act, Civil Code § 52.1
22
                                               6. Assault
23
                                               7. Battery By Peace Officer
24
                                               8. Intentional Infliction of Emotional
25                                                Distress
26                                             9. Negligence
27                                             [DEMAND FOR JURY TRIAL]
28
     COMPLAINT FOR DAMAGES
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 1                            I.     INTRODUCTION AND VENUE
 2          1.     On June 11, 2021, officers with the Los Angeles Police Department
 3    (“LAPD”) pulled over Karl Augustus—a Black 41-year-old military veteran with a
 4    history of PTSD—in the erroneous belief that Mr. Augustus’ car might be stolen. Even
 5    though Mr. Augustus was driving his own car, never presented any threat, complied
 6    with all police orders, and had committed no crime, he was surrounded by
 7    approximately ten officers, held at gunpoint, forced to lie face down in the middle of the
 8    street, handcuffed, and detained.
 9          2.     The Officers acted pursuant to LAPD’s written policy of using so-called
10    “high risk” traffic stops—the same tactics LAPD uses to detain armed robbery and
11    murder suspects—to detain motorists suspected only of stealing a vehicle, a property
12    crime that is not high risk. LAPD’s policy is contrary to the standards and training of
13    the Commission on Police Officer Standards and Training, which sets standards and
14    training for California law enforcement, and is unconstitutional under Ninth Circuit law.
15          3.     Only after detaining Mr. Augustus for a significant period of time did the
16    officers finally tell him that they had pulled him over believing that his vehicle was
17    stolen but confirmed that it was not. Another officer told Mr. Augustus that they had
18    pulled him over because the license plate tags on his car were expired.
19                             II.   JURISDICTION AND VENUE
20          4.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343(a)
21    because Plaintiff asserts claims arising under the laws of the United States including 42
22    U.S.C. § 1983 and the Fourth and Fourteenth Amendments of the United States
23    Constitution. Plaintiff’s state-law claims form part of the same case and controversy
24    and are within the supplemental jurisdiction of the Court pursuant to 28 U.S.C. § 1367.
25          5.     Venue is proper in the United States District Court of the Central District
26    of California pursuant to 28 U.S.C. § 1391(b)(1) as the Central District is “a judicial
27    district in which any defendant resides” and “all defendants are residents of the State in
28    which the district is located.” Venue is also proper pursuant to 28 U.S.C. § 1391(b)(2),

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 1    as the Central District is “a judicial district in which a substantial part of the events or
 2    omissions giving rise to the claim occurred[.]”
 3                                          III.   PARTIES
 4          6.     Plaintiff Karl Augustus resides in Los Angeles, California. Mr. Augustus
 5    was making his early morning commute in his 2017 BMW 740 from his apartment on
 6    Olympic Boulevard and Olive Street to his gym in Hawthorne when LAPD officers
 7    pulled him over and conducted a “high risk” stop in which they drew their weapons,
 8    held him at gunpoint, forced him to lie on the street, violently handcuffed him, and held
 9    him in a lengthy detention in a police car while they searched his vehicle without his
10    consent.
11          7.     Defendant Los Angeles (“the City”) was and is a legal political entity
12    established under the laws of the State of California, with all the powers specified and
13    necessarily implied by the Constitution and laws of the State of California and exercised
14    by a duly elected City Council and/or their agents and officers. The City is responsible
15    for the actions, inactions, policies, procedures, practices, and customs of the LAPD and
16    its agents and employees. At all relevant times, the City was and continues to be
17    responsible for assuring that the actions of the LAPD and its agents and employees
18    comply with the Constitutions of the State of California and of the United States and
19    any other applicable laws and regulations.
20          8.     Defendant Michel Moore is the duly appointed Chief of Police for the
21    LAPD, and an employee of the City. Defendant Moore holds the highest position in the
22    LAPD and is and was responsible for the hiring, screening, training, retention,
23    supervision, discipline, counseling, and control of all LAPD employees and/or agents.
24    At all relevant times herein, Defendant Moore was responsible for the promulgation of
25    the policies and procedures and allowances of the practices and customs pursuant to
26    which the acts of the Defendant Officers alleged herein were committed. Defendant
27    Moore is being sued in his individual capacity only. On information and belief,
28    Defendant Moore established and/or permitted the LAPD’s policy, practice, custom,

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 1    and failure to train, and/or ratified the acts alleged herein.
 2          9.     At least ten officers were involved in the incident. Claimant is currently
 3    unaware of their identities because the LAPD has refused all requests to provide
 4    information concerning the incident. Defendant Officers DOES 1-10 are employees of
 5    the LAPD who were present for and participated in the incident. Among other things,
 6    Defendant Officer DOES participated in the high risk stop of Mr. Augustus and his de
 7    facto arrest without probable cause, held Mr. Augustus at gunpoint, ordered him onto
 8    his knees, ordered him to lie on the ground and prone out, violently handcuffed him,
 9    detained him, searched his car without consent, and/or stood guard with the other
10    Officer Defendants while they committed these acts.
11          10.    Defendant Officers DOES 1-10 (collectively the “Officer Defendants”)
12    engaged in the acts or omissions alleged herein under color of state law and within the
13    course and scope of their duties as Officers of the LAPD. The Officer Defendants were
14    acting with the complete authority and ratification of their principal, Defendants City of
15    Los Angeles and Defendant Chief Michel Moore.
16          11.    Plaintiff is informed and believes and thereon alleges that at all times
17    relevant herein, Defendants and each of them were the agents, employees, servants,
18    joint venturers, partners, and/or co-conspirators of the other Defendants named in this
19    Complaint and that at all times, each of the Defendants was acting within the course and
20    scope of said relationship with Defendants.
21          12.    All of the acts and omissions complained of herein by Plaintiff against
22    Defendants were done and performed by said Defendants by and through their
23    authorized agents, servants and/or employees, all of whom at all relevant times herein
24    were acting within the course, purpose, and scope of said agency, service, and/or
25    employment capacity. Plaintiff alleges that to the extent certain acts and omissions
26    were perpetrated by certain Defendants, the remaining Defendant or Defendants
27    confirmed and ratified said acts and omissions.
28          13.    Plaintiff is informed and believes and thereupon alleges, that at all times

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 1    material herein, each Defendant was dominated and controlled by his/her co-Defendant
 2    and each was the alter-ego of the other.
 3          14.     Whenever and wherever reference is made in this complaint to any act or
 4    failure to act by a Defendant or Defendants, such allegations and references shall also
 5    be deemed to mean the acts and failures to act of each Defendant acting individually,
 6    jointly and severally.
 7                         IV.   ADMINSITRATIVE PEREQUISITES
 8          15.     Plaintiff Karl Augustus exhausted his administrative remedies by filing a
 9    governmental tort claim with the City of Los Angeles on December 6, 2021. By
10    correspondence dated December 22, 2021, the City rejected Plaintiff’s governmental
11    tort claim.
12     V.     FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
13          16.     On June 11, 2021, around 2:30 a.m., Mr. Augustus was making his early
14    morning commute in his 2017 BMW 740 from his apartment on Olympic Boulevard
15    and Olive Street to his gym in Hawthorne. Shortly after leaving his home, Mr.
16    Augustus saw that a police vehicle was following him. The police officer turned on his
17    vehicle’s red and blue lights and Mr. Augustus quickly pulled over at the intersection of
18    Pico Boulevard and Grand Avenue.
19          17.     Mr. Augustus rolled down his window in anticipation of an officer walking
20    up to his car. Instead, an officer commanded Mr. Augustus over a loudspeaker to turn
21    off his car, throw his keys out the window, place both hands out of his window, open
22    the door slowly with his left hand, and exit the vehicle, facing away from the officer.
23    Mr. Augustus glanced back and saw more police cars pulling up and officers
24    dismounting from their cars with their firearms drawn.
25          18.     Mr. Augustus threw his keys out the driver’s side window, keeping both
26    his hands outside the window so that both hands would be visible to the officers. He
27    then told the officers that he needed to reach back into the car to unbuckle his seatbelt.
28    The officers screamed loudly at Mr. Augustus, commanding him to exit the car. Mr.

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 1    Augustus reached back to unbuckle his seatbelt with his right hand and kept his left
 2    hand outside the window so that the officers would see that his left hand was outside the
 3    vehicle. Mr. Augustus feared that he would be shot.
 4           19.    After unbuckling his seatbelt, Mr. Augustus put his right hand back outside
 5    the window so both hands were visible to the officers, slowly used his left hand to open
 6    the door from the outside, and exited the vehicle as he had been ordered to do. Mr.
 7    Augustus tried to move as slowly and as fluidly as possible because he thought the
 8    officers might shoot him if they thought he was making any fast or sudden movements.
 9           20.    After Mr. Augustus opened the door and exited his vehicle, an officer
10    directed him to sidestep into the middle of the street while facing away from the officers
11    with his hands above his head and commanded him to drop to his knees then lie down
12    on the ground on his stomach. The officer then commanded Mr. Augustus to prone out
13    by extending his arms to the side, spread his legs, and turn his head away from the
14    vehicle. Mr. Augustus followed all the officer’s directions.
15           21.    While lying on the ground, Mr. Augustus heard a helicopter circling
16    overhead. Mr. Augustus is a military veteran, and the sound of the helicopter reminded
17    him of his experiences in combat loading wounded and dead soldiers onto Blackhawk
18    helicopters that were deployed to medically evacuate soldiers on the battlefield. This
19    memory triggered his combat-related post-traumatic stress disorder (“PTSD”).
20           22.    Mr. Augustus heard several officers repeatedly yell at the car, “Passenger,
21    exit the vehicle!” However, Mr. Augustus had no passengers with him. His wife, who
22    was then seven-months pregnant with their first child, was back in their apartment. He
23    wondered whether he would ever see her again and whether he would live to see the
24    birth of his child.
25           23.    Mr. Augustus felt an officer grab his arms and place his wrists in cold and
26    extremely tight handcuffs. Two officers pulled Mr. Augustus up to his feet, turned him
27    around, and took him towards the swarm of LAPD vehicles and officers standing
28    nearby with their firearms drawn. Mr. Augustus saw at least one officer pointing a gun

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 1    at him. Mr. Augustus told the officers that he had a pregnant wife at home, that he was
 2    a military veteran, and that he had done nothing wrong. Mr. Augustus asked the
 3    officers what they thought he had done. The officers refused to answer his question.
 4          24.    The officers took Mr. Augustus to a patrol car, made him face the hood of
 5    the car on the driver’s side of the car, and handcuffed his hands behind his back. He
 6    saw officers searching his vehicle. Mr. Augustus again asked the officers what was
 7    going on, but no officer would answer him.
 8          25.    The handcuffs were so tight that Mr. Augustus lost sensation in his fingers.
 9    He told the officers that the handcuffs were too small for his body size and asked them
10    to loosen the handcuffs. Eventually an officer used a second set of handcuffs to extend
11    and put distance between Mr. Augustus’s wrists but did not loosen the handcuffs which
12    were still very tight. Mr. Augustus’s fingers were still numb, even after the application
13    of the second set of handcuffs.
14          26.    Mr. Augustus asked an officer once again why he had been pulled over.
15    An officer finally told him that he had been pulled over for driving a stolen car. The
16    officers asked Mr. Augustus where he got the car from and how long he had had it. Mr.
17    Augustus said that the car was not stolen and that he bought it in 2020 in Atlanta,
18    Georgia.
19          27.    Mr. Augustus urged the officers to check his car’s Vehicle Identification
20    Number to verify that it matched his Progressive Insurance Card on the application on
21    his smart phone. Mr. Augustus’ car has out-of-state license plate tags from Georgia.
22    After confirming that the car did in fact belong to Mr. Augustus, the officers changed
23    their story and said that they had pulled him over because the license plate tags on his
24    car were expired and when they ran his tags through the system, the tags were
25    associated with a Blue Dodge Challenger. Mr. Augustus said he had traded in a Blue
26    Dodge Challenger in order to purchase his BMW and asked the officer if his name was
27    listed for the Blue Dodge Challenger. The officer did not respond.
28          28.    Throughout the entire incident, none of the officers wore face masks. Mr.

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 1    Augustus had a face mask in his vehicle but the officers did not give him an opportunity
 2    to put it on.
 3           29.      After a lengthy period of time, the officers finally released Mr. Augustus
 4    from the handcuffs. Mr. Augustus’s wrists swelled up from the tightness of the
 5    handcuffs. An officer told Mr. Augustus to use the temporary paper license tags from
 6    the dealership. Mr. Augustus stated that the dealership tags were expired.
 7           30.      The officer told Mr. Augustus that the officers had acted pursuant to LAPD
 8    procedure and that he should get his license plates fixed. The officers did not provide
 9    Mr. Augustus any written citation or other documentation for the incident.
10           31.      The California Law Enforcement Telecommunications System (“CLETS”)
11    is a statewide computer network used by law enforcement to search vehicle records,
12    among other databases. On information and belief, the Defendant Officers conducted
13    the high risk traffic stop based on information they received from CLETS indicating
14    that Mr. Augustus’s license plates did not match his vehicle, which the officers then
15    assumed meant the vehicle might be stolen. Without any further reasonable suspicion
16    beyond this information from CLETS, and without any probable cause to believe that
17    Mr. Augustus was involved in any criminal activity, let alone criminal activity posing
18    any high risk of danger, Defendant Officers conducted a highly aggressive and
19    terrifying “high risk” traffic stop.
20           32.      The Fourth Amendment to the United States Constitution prohibits
21    unreasonable seizures. U.S. Const. amend. IV; Washington v. Lambert, 98 F.3d 1181,
22    1186 (9th Cir. 1996). Article I, § 13 of the California Constitution provides a similar
23    prohibition. Cal. Const. Art. I, § 13; see People v. Perry, 36 Cal. App. 5th 444, 466
24    (2019).
25           33.      “Under settled Fourth Amendment law, a traffic stop constitutes a seizure,
26    and an officer must have reasonable suspicion before detaining a motorist.” Bingham v.
27    City of Manhattan Beach, 341 F.3d 939, 946 (9th Cir. 2003). To lawfully arrest a
28    motorist, however, an officer must have probable cause. Green v. City & County of San

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 1    Francisco, 751 F.3d 1039, 1049 (9th Cir. 2014).
 2          34.    Under Ninth Circuit law, “high risk” vehicle stops in which multiple
 3    officers hold a person at gunpoint, force the person down onto their knees, and handcuff
 4    the person constitute a de facto arrest requiring probable cause. See id. at 1047.
 5          35.    Ninth Circuit law thus limits the use of such “high risk” detentions only to
 6    “special circumstances” “1) where the suspect is uncooperative or takes action at the
 7    scene that raises a reasonable possibility of danger or flight; 2) where the police have
 8    information that the suspect is currently armed; 3) where the stop closely follows a
 9    violent crime; and 4) where the police have information that a crime that may involve
10    violence is about to occur.” Id. None of these special circumstances was present here.
11          36.    Police officers in California use CLETS to determine whether a particular
12    vehicle may be stolen. Police officers in Los Angeles and throughout California have
13    been expressly warned that information in CLETS identifying a vehicle as potentially
14    stolen is not sufficient to establish probable cause:
15
            Information obtained from CLETS can be used by peace officers to establish or
16          reinforce the reasonable suspicion necessary to lawfully detain a suspect.
            Because the information may be unreliable or unsubstantiated, however, it is not
17          sufficient alone for establishing the probable cause necessary for law
            enforcement actions such as conducting a search, seizing property, or placing an
18          individual under arrest.
19    California Commission on Peace Officer Standards and Training (POST), Learning
20    Domain 36 (Information Systems), Version 3.6, at 1-9 (emphasis in original). For this
21    reason, California Department of Justice regulations require that officers “obtain
22    confirmation before an arrest or the confiscation of the property in response to the
23    computer match.” Id. Officers are also trained that “[t]he use of unreliable or
24    unsubstantiated information by an officer when establishing probable cause could lead
25    to unlawful searches or seizures as well as incidents of false arrest.” Id.
26          37.    The involved Officers’ highly aggressive tactics were pursuant to the
27    LAPD’s written policy and training to use such so-called “high risk” or “felony” traffic
28    stop procedures based only upon suspicion of any felony, including a suspected a stolen

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 1     vehicle.
 2           38.    The LAPD’s high risk traffic stop policy violates the Fourth Amendment
 3     and Article I, § 13 of the California Constitution. The involved officers, acting pursuant
 4     to Departmental policy and training, performed a high risk stop on Mr. Augustus based
 5     only on information in CLETS indicating that Mr. Augustus’ vehicle did not match his
 6     license plates, which the officers assumed meant the vehicle might be stolen. Without
 7     verifying whether this report was correct, at least ten officers surrounded Mr. Augustus
 8     and used the “especially intrusive” tactics of drawing and pointing firearms, forcing Mr.
 9     Augustus to lie down on his stomach in the middle of the street, aggressively
10     handcuffing him, and detaining him in the back of a police car even though none of the
11     “special circumstances” required to justify such aggressive tactics were present.
12     Significantly, the LAPD’s written policy on high risk stops states that such stops are
13     “utilized when officers have the reasonable belief that the occupants in the vehicle may
14     be armed and may represent a serious threat to the officer, or have committed a felony.”
15     Whether the LAPD’s policy requires or even simply permits the use of such tactics
16     based only upon suspicion of a stolen vehicle, the policy is unconstitutional.
17           39.    The egregious nature of LAPD’s high risk stop policy is further
18     underscored by the fact that among the 3,524 traffic stops performed by the LAPD
19     based on suspicion of a stolen vehicle between 2018 and 2021, the vehicle was not
20     actually stolen in 74 percent of the stops.
21           40.    Mr. Augustus has been seriously traumatized by LAPD’s aggressive and
22     life-threatening high risk traffic stop policy and tactics. Mr. Augustus sought
23     counseling following the incident to cope with the resulting anxiety, nightmares,
24     insomnia, and depression. He has been unable to concentrate at work. The incident
25     undid years of progress Mr. Augustus had made treating his PTSD. He no longer trusts
26     the police and fears they pose a threat to his life.
27           41.    Plaintiff brings this action for damages against Defendants for general,
28     compensatory, and statutory damages, costs and attorneys’ fees based on Defendants’

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 1     unlawful and egregious conduct, as alleged herein. Plaintiff also seek declaratory and
 2     injunctive relief enjoining the LAPD’s policy requiring, or in the alternative
 3     authorizing, “high risk” stops prohibited by Ninth Circuit law. Additionally, Plaintiff
 4     seeks punitive damages against the individual Defendants.
 5                                      CAUSES OF ACTION
 6                                  FIRST CLAIM FOR RELIEF
 7                                             42 U.S.C. § 1983
 8                  Fourth and Fourteenth Amendments: Unreasonable Seizure
 9                               (By Plaintiff Against All Defendants)
10           42.    Plaintiff alleges and incorporates by reference each and every allegation
11     contained in the foregoing paragraphs as though fully set forth herein.
12           43.    All of the acts of Defendant Officers DOES 1-10 were done under color of
13     state law.
14           44.    The acts of the Officer Defendants deprived Plaintiff of rights, privileges,
15     and immunities secured by the Constitution of the United States, including but not
16     limited to his rights under the Fourth Amendment of the United States Constitution,
17     incorporated and made applicable to the states and their local governments by the
18     Fourteenth Amendment by, among other things, unlawfully seizing Plaintiff by
19     conducting a high risk traffic stop and a de facto arrest of Plaintiff without any lawful
20     basis, probable cause, warrant, or any exception thereto, and unreasonably prolonging
21     Plaintiff’s detention even after the officers knew or reasonably should have known that
22     Plaintiff had not stolen his vehicle.
23           45.    Each of the Officer Defendants was both personally involved and an
24     integral participant in the violation of Plaintiff’s constitutional rights. Each Officer was
25     aware of the unlawful actions of the other Officers as they planned to and did conduct a
26     “high risk” stop of Plaintiff without any further reasonable suspicion beyond unverified
27     information from CLETS indicating that Plaintiff’s vehicle did not match its license
28     plates, and without any probable cause to believe that Mr. Augustus was involved in

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 1     any criminal activity, let alone criminal activity posing any high risk of danger, and
 2     performed a de facto arrest of Mr. Augustus without probable cause, held him at
 3     gunpoint, ordered him to lie proned out in the middle of the street, violently handcuffed
 4     him, detained him, and/or stood guard while the other Officer Defendants committed
 5     these acts. None of the involved Officers objected to these violations of Plaintiff’s
 6     rights, and each Officer participated in the violation by performing police functions,
 7     including meaningful participation in the unlawful seizure and de facto arrest of
 8     Plaintiff and the use of unreasonable force against him.
 9           46.    As a direct and proximate result of the aforementioned acts of the Officer
10     Defendants, Plaintiff sustained and incurred damages including pain, suffering, and
11     emotional injury.
12           47.    In doing the foregoing wrongful acts, Defendants, and each of them, acted
13     in reckless and callous disregard for Plaintiff’s constitutional rights. The wrongful acts,
14     and each of them, were willful, oppressive, fraudulent, and malicious, thus warranting
15     the award of punitive damages against each individual Officer Defendant in their
16     individual capacities (but not against the entity Defendant) in an amount adequate to
17     punish the wrongdoers and deter future misconduct.
18           48.    The Officer Defendants and any other involved officers acted pursuant to
19     expressly adopted official policies or longstanding practices or customs of the City of
20     Los Angeles. These include policies and longstanding practices and/or customs
21     requiring and/or permitting officers to carry out “high risk” stops, including but not
22     limited to utilizing large numbers of police cars and officers; drawing their weapons and
23     pointing firearms at people; forcing people onto their knees and/or proning them out;
24     handcuffing them; and detaining them at length, all in situations that are not high risk
25     and based only upon reasonable suspicion of property crimes such as suspected stolen
26     vehicles and without regard to Ninth Circuit law.
27           49.    The training policies of the City of Los Angeles were not adequate to train,
28     supervise, and control its Officers to handle the usual and recurring situations with

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 1     which they must deal, including but not limited to performing (1) high risk traffic stops
 2     of vehicles suspected of being stolen based only upon unconfirmed CLETS data and (2)
 3     de facto arrests of motorists based only upon same. The City of Los Angeles knew that
 4     its failure to adequately train its Officers for such situations made it highly predictable
 5     that its Officers would engage in conduct that would deprive persons such as Mr.
 6     Augustus of his rights. The City of Los Angeles was thus deliberately indifferent to the
 7     obvious consequences of its failure to train its Officers adequately.
 8           50.      Defendant City of Los Angeles’s official policies and/or longstanding
 9     practices or customs, including but not limited to its training policies, caused the
10     deprivation of the constitutional rights of Mr. Augustus by Defendant Officers DOES 1-
11     10, and the other involved Officers; that is, the City of Los Angeles’s official policies
12     and/or longstanding practices or customs are so closely related to the deprivation of
13     Plaintiff’s rights as to be the moving force that caused his injuries. These policies,
14     longstanding practices, and/or customs include performing high risk traffic stops of
15     vehicles suspected of being stolen.
16           51.      LAPD Chief Michel Moore, a final policymaker for the City of Los
17     Angeles, ratified the actions and omissions of the Defendant Officers and the other
18     involved officers in that he had knowledge of and made a deliberate choice to approve
19     their unlawful acts and omissions. Upon information and belief, the City took no action
20     in response to Plaintiff’s allegations and none of the involved Officers have been
21     disciplined.
22                                 SECOND CLAIM FOR RELIEF
23                                           42 U.S.C. § 1983
24                    Fourth and Fourteenth Amendments: Unreasonable Search
25                               (By Plaintiff Against All Defendants)
26           52.      Mr. Augustus realleges and incorporates by reference each and every
27     allegation contained in the foregoing paragraphs as though fully set forth herein.
28           53.      All of the acts of Defendant Officers DOES 1-10 were done under color of

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 1     state law.
 2           54.    The acts of the Officer Defendants deprived Mr. Augustus of rights,
 3     privileges, and immunities secured by the Constitution and laws of the United States,
 4     including but not limited to his rights under the Fourth Amendment of the United States
 5     Constitution, incorporated and made applicable to the states and their local governments
 6     by the Fourteenth Amendment, by, among other things, searching Mr. Augustus’
 7     vehicle without a warrant, exigency, emergency, probable cause, or Plaintiff’s consent.
 8           55.    Each of the Officer Defendants was both personally involved and an
 9     integral participant in the violation of Mr. Augustus’ constitutional rights. Each Officer
10     was aware of the unlawful actions of the other Officers as they planned to search and
11     did search Mr. Augustus’ vehicle; did not object to this violation of Mr. Augustus’
12     rights; and participated in the violation by performing police functions, including
13     meaningful participation in the unlawful traffic stop, de facto arrest, search, and use of
14     unreasonable force against Plaintiff.
15           56.    As a direct and proximate result of the aforementioned acts of the Officer
16     Defendants, Plaintiff sustained and incurred damages including emotional injury.
17           57.    In doing the foregoing wrongful acts, Defendants, and each of them, acted
18     in reckless and callous disregard for Plaintiff’s constitutional rights. The wrongful acts,
19     and each of them, were willful, oppressive, fraudulent, and malicious, thus warranting
20     the award of punitive damages against each individual Officer Defendant in their
21     individual capacities (but not against the entity Defendant) in an amount adequate to
22     punish the wrongdoers and deter future misconduct.
23           58.    The Officer Defendants and any other involved officers acted pursuant to
24     expressly adopted official policies or longstanding practices or customs of the City of
25     Los Angeles. These include policies and longstanding practices and/or customs
26     requiring and/or permitting officers to carry out “high risk” stops, including but not
27     limited to utilizing large numbers of police cars and officers, drawing their weapons and
28     pointing firearms at people, forcing people onto their knees, handcuffing them,

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 1     detaining them at length, and searching their vehicles, all in situations that are not high
 2     risk and based only upon reasonable suspicion of property crimes such as suspected
 3     stolen vehicles and without regard to Ninth Circuit law.
 4           59.      The training policies of the City of Los Angeles were not adequate to train,
 5     supervise, and control its Officers to handle the usual and recurring situations with
 6     which they must deal, including but not limited to performing high risk traffic stops of
 7     vehicles suspected of being stolen based only upon unconfirmed CLETS data and
 8     searching the vehicle based only upon same. The City of Los Angeles knew that its
 9     failure to adequately train its Officers for such situations made it highly predictable that
10     its Officers would engage in conduct that would deprive persons such as Plaintiff of his
11     rights. The City of Los Angeles was thus deliberately indifferent to the obvious
12     consequences of its failure to train its Officers adequately.
13           60.      Defendant City of Los Angeles’s official policies and/or longstanding
14     practices or customs, including but not limited to its training policies, caused the
15     deprivation of the constitutional rights of Plaintiff by the Officer Defendants and the
16     other involved Officers; that is, the City of Los Angeles’s official policies and/or
17     longstanding practices or customs are so closely related to the deprivation of Plaintiff’s
18     rights as to be the moving force that caused his injuries.
19           61.      LAPD Chief Michel Moore, a final policymaker for the City of Los
20     Angeles, ratified the actions and omissions of the Officer Defendants and the other
21     involved Officers in that he had knowledge of and made a deliberate choice to approve
22     their unlawful acts and omissions. Upon information and belief, the City took no action
23     in response to Plaintiff’s allegations and none of the involved Officers have been
24     disciplined.
25     ///
26     ///
27     ///
28

        COMPLAINT FOR DAMAGES                        -14-
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 1                                  THIRD CLAIM FOR RELIEF
 2                                          42 U.S.C. § 1983
 3                     Fourth and Fourteenth Amendments: Excessive Force
 4                              (By Plaintiff Against All Defendants)
 5           62.    Mr. Augustus realleges and incorporates by reference each and every
 6     allegation contained in the foregoing paragraphs as though fully set forth herein.
 7           63.    All of the acts of Defendant Officers DOES 1-10 were done under color of
 8     state law.
 9           64.    The acts of the Officer Defendants deprived Plaintiff of rights, privileges,
10     and immunities secured by the Constitution of the United States, including but not
11     limited to his rights under the Fourth Amendment of the United States Constitution,
12     incorporated and made applicable to the states and their local governments by the
13     Fourteenth Amendment by, among other things, using excessive force against Plaintiff.
14     Specifically, Defendants pointed their guns at Plaintiff, which under established Ninth
15     Circuit law is a use of force. Defendants also forced Plaintiff to prone out in the middle
16     of the street, and applied handcuffs so tightly that Plaintiff’s fingers became numb.
17           65.    Each of the Officer Defendants was both personally involved and an
18     integral participant in the violation of Plaintiff’s constitutional rights. Each Officer was
19     aware of the unlawful actions of the other Officers as they planned to and did point their
20     firearms at Plaintiff, forced Plaintiff to kneel and prone out in the middle of the street,
21     and forcefully handcuffed Plaintiff. None of the Officers objected to these violations of
22     Plaintiff’s rights, and each Officer participated in the violation by performing police
23     functions, including meaningful participation in the unlawful traffic stop, de facto
24     arrest, and use of unreasonable force against Plaintiff.
25           66.    As a direct and proximate result of the aforementioned acts of the Officer
26     Defendants, Plaintiff sustained and incurred damages including pain, suffering, and
27     emotional injury.
28           67.    In doing the foregoing wrongful acts, Defendants, and each of them, acted

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 1     in reckless and callous disregard for Plaintiff’s constitutional rights. The wrongful acts,
 2     and each of them, were willful, oppressive, fraudulent, and malicious, thus warranting
 3     the award of punitive damages against each individual Officer Defendant in their
 4     individual capacities (but not against the entity Defendant) in an amount adequate to
 5     punish the wrongdoers and deter future misconduct.
 6           68.    The Officer Defendants and any other involved officers acted pursuant to
 7     expressly adopted official policies or longstanding practices or customs of the City of
 8     Los Angeles. These include policies and longstanding practices and/or customs
 9     requiring and/or permitting officers to carry out “high risk” stops involving excessive
10     force, including but not limited to utilizing large numbers of police cars and officers,
11     drawing their weapons and pointing firearms at people, forcing people onto their knees,
12     tightly handcuffing them, and detaining them at length, all in situations that are not high
13     risk and based only upon reasonable suspicion of property crimes such as suspected
14     stolen vehicles and without regard to Ninth Circuit law.
15           69.    The training policies of the City of Los Angeles were not adequate to train,
16     supervise, and control its Officers to handle the usual and recurring situations with
17     which they must deal, including but not limited to performing high risk traffic stops of
18     vehicles suspected of being stolen based only upon unconfirmed CLETS data and using
19     excessive force based only upon same. The City of Los Angeles knew that its failure to
20     adequately train its Officers for such situations made it highly predictable that its
21     Officers would engage in conduct that would deprive persons such as Plaintiff of his
22     rights. The City of Los Angeles was thus deliberately indifferent to the obvious
23     consequences of its failure to train its Officers adequately.
24           70.    Defendant City of Los Angeles’s official policies and/or longstanding
25     practices or customs, including but not limited to its training policies, caused the
26     deprivation of the constitutional rights of Plaintiff by Defendant Officers DOES 1-10,
27     and the other involved Officers; that is, the City of Los Angeles’s official policies
28     and/or longstanding practices or customs are so closely related to the deprivation of

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 1     Plaintiff’s rights as to be the moving force that caused his injuries.
 2           71.      LAPD Chief Michel Moore, a final policymaker for the City of Los
 3     Angeles, ratified the actions and omissions of the Defendant Officers and the other
 4     involved officers in that he had knowledge of and made a deliberate choice to approve
 5     their unlawful acts and omissions. Upon information and belief, the City took no action
 6     in response to Plaintiff’s allegations and none of the involved Officers have been
 7     disciplined.
 8                                 FOURTH CLAIM FOR RELIEF
 9                                           42 U.S.C. § 1983
10                    Fourth and Fourteenth Amendments: Failure to Intervene
11                                (By Plaintiff Against All Defendants)
12           72.      Mr. Augustus realleges and incorporates by reference each and every
13     allegation contained in the foregoing paragraphs as though fully set forth herein.
14           73.      All of the acts of Defendant Officers DOES 1-10 were done under color of
15     state law.
16           74.      The acts of the Officer Defendants deprived Plaintiff of rights, privileges,
17     and immunities secured by the Constitution of the United States, including but not
18     limited to their rights under the Fourth Amendment of the United States Constitution,
19     incorporated and made applicable to the states and their local governments by the
20     Fourteenth Amendment by, among other things, failing to intervene in the unlawful
21     actions of other Officers. These unlawful actions include the unreasonable traffic stop
22     of Plaintiff, the unlawful de facto arrest of Plaintiff, the unlawful search of Mr.
23     Augustus’ vehicle, and the use of excessive force against Plaintiff, including
24     Defendants drawing their guns and with at least one officer pointing his gun at Plaintiff,
25     forcing Plaintiff to lie down on his stomach and prone out in the middle of the street,
26     applying handcuffs so tightly that Plaintiff’s fingers started to go numb, and detaining
27     Plaintiff for an extended period of time.
28           75.      At all relevant times, the Officer Defendants were present and had a

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 1     realistic opportunity to intervene and prevent the unlawful traffic stop, de facto arrest,
 2     search, and excessive force by their fellow Officers against Plaintiff, but neglected to do
 3     so.
 4           76.    As a direct and proximate result of the aforementioned acts and omissions
 5     of the Officer Defendants, Plaintiff sustained and incurred damages including pain,
 6     suffering, and emotional injury.
 7           77.    In doing the foregoing wrongful acts, Defendants, and each of them, acted
 8     in reckless and callous disregard for Plaintiff’s constitutional rights. The wrongful acts,
 9     and each of them, were willful, oppressive, fraudulent, and malicious, thus warranting
10     the award of punitive damages against each individual Officer Defendant in their
11     individual capacities (but not against the entity Defendant) in an amount adequate to
12     punish the wrongdoers and deter future misconduct.
13           78.    The Officer Defendants and any other involved officers acted pursuant to
14     expressly adopted official policies or longstanding practices or customs of the City of
15     Los Angeles. These include policies and longstanding practices and/or customs
16     requiring and/or permitting officers to carry out “high risk” stops, including but not
17     limited to utilizing large numbers of police cars and officers, drawing their weapons and
18     pointing firearms at people, forcing people to lie on their stomachs and prone out in the
19     middle of the street, handcuffing them, detaining them at length, and searching their
20     vehicles, all in situations that are not high risk and based only upon reasonable
21     suspicion of property crimes such as suspected stolen vehicles and without regard to
22     Ninth Circuit law. These official policies and longstanding practices and/or customs
23     also include failure to intervene in said activities.
24           79.    The training policies of the City of Los Angeles were not adequate to train,
25     supervise, and control its Officers to handle the usual and recurring situations with
26     which they must deal, including but not limited to failing to intervene to stop unlawful
27     seizures, unlawful searches, and the use of excessive force, including carrying out “high
28     risk” stops utilizing large numbers of police cars and officers, drawing and pointing

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 1     firearms at people, forcing people to lie on their stomachs and prone out in the middle
 2     of the street, detaining them at length, and searching their vehicles, all in situations that
 3     are not high risk and based only upon reasonable suspicion of property crimes such as
 4     suspected stolen vehicles and without regard to the Ninth Circuit law. The City of Los
 5     Angeles knew that its failure to adequately train its Officers for such situations made it
 6     highly predictable that its Officers would fail to intervene to stop constitutional
 7     violations by their fellow Officers that deprive persons such as Plaintiff of their rights.
 8     The City of Los Angeles was thus deliberately indifferent to the obvious consequences
 9     of its failure to train its Officers adequately.
10            80.     Defendant City of Los Angeles’s official policies and/or longstanding
11     practices or customs, including but not limited to its training policies, caused the
12     deprivation of the constitutional rights of Plaintiff by Defendant Officers DOES 1-10,
13     and the other involved Officers; that is, the City of Los Angeles’s official policies
14     and/or longstanding practices or customs are so closely related to the deprivation of
15     Plaintiff’s rights as to be the moving force that caused their injuries.
16            81.     LAPD Chief Michel Moore, a final policymaker for the City of Los
17     Angeles, ratified the actions and omissions of the Defendant Officers and the other
18     involved officers in that he had knowledge of and made a deliberate choice to approve
19     their unlawful acts and omissions, including their failure to intervene to stop the
20     unlawful acts of their fellow officers. Upon information and belief, the City took no
21     action in response to Plaintiff’s allegations and none of the involved Officers have been
22     disciplined.
23                                   FIFTH CLAIM FOR RELIEF
24                                 BANE ACT, CIVIL CODE § 52.1
25                               (By Plaintiff Against All Defendants)
26            82.     Plaintiff realleges and incorporates by reference each and every allegation
27     contained above as though fully set forth herein.
28            83.     Article I, § 13 of the California Constitution and the Fourth Amendment to

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 1     the United States Constitution, incorporated and made applicable to the states and their
 2     local governments by the Fourteenth Amendment, guarantee the right of persons to be
 3     free from unlawful false arrests, unlawful searches, and excessive force on the part of
 4     law enforcement officers. The Officer Defendants and the other involved Officers, by
 5     engaging in the wrongful acts and failures to act alleged herein, intentionally and
 6     deliberately denied each of these rights to Plaintiff by threats, intimidation, or coercion,
 7     to prevent Plaintiff from exercising his rights to be free of false arrest, unlawful
 8     searches, and excessive force, thus giving Plaintiff claims for damages pursuant to
 9     California Civil Code § 52.1. Specifically, the Officer Defendants and other involved
10     Officers unlawfully (1) stopped Plaintiff based only upon unverified information from
11     CLETS indicating that Plaintiff’s vehicle might be stolen, (2) performed a de facto
12     arrest of Plaintiff, (3) searched Plaintiff’s vehicle without Plaintiff’s consent, (4) used
13     excessive force against Plaintiff, including pointing their guns at Plaintiff, forcing
14     Plaintiff to lie on his stomach and prone out in the middle of the street, and (5) applying
15     handcuffs so tightly that they made Plaintiff’s fingers go numb. The Officer
16     Defendants intended by their actions to deprive Plaintiff of his enjoyment of the
17     interests protected by the right to be free of such conduct.
18           84.    As a direct and proximate result of the aforementioned acts and omissions
19     of the Officer Defendants, Plaintiff sustained and incurred damages including pain,
20     suffering, and emotional injury.
21           85.    Each of the Officer Defendants was both personally involved and aided
22     and abetted in the violation of Plaintiff’s constitutional rights. Each Officer knew that
23     the other Officers were committing unlawful actions against Plaintiff as they planned to
24     and did unlawfully arrest Plaintiff, search Plaintiff’s vehicle, use excessive force against
25     Plaintiff, and detain Plaintiff. Each Officer gave substantial assistance or
26     encouragement to the other Officers and each Officer’s conduct was a substantial fact in
27     causing harm to Plaintiff.
28           86.    LAPD Chief Michel Moore, a final policymaker for the City of Los

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 1     Angeles, approved and/or ratified the unconstitutional policy guiding the Officer
 2     Defendants’ unlawful acts, and approved and/or ratified the actions and omissions of
 3     the Defendant Officers and the other involved officers in that he had knowledge of and
 4     made a deliberate choice to approve their unlawful acts and omissions. Upon
 5     information and belief, the City took no action in response to Plaintiff’s allegations and
 6     none of the involved Officers have been disciplined. The City of Los Angeles is
 7     vicariously liable for its Officers’ misconduct.
 8           87.    In doing the foregoing wrongful acts, Defendants, and each of them, acted
 9     with conscious disregard of Plaintiff’s rights. Said Defendants’ conduct was willful,
10     wanton, malicious, and oppressive, thereby justifying an award of exemplary and
11     punitive damages against each individual Officer Defendant in their individual
12     capacities (but not against the entity Defendant) to punish the wrongful conduct alleged
13     herein and to deter such conduct in the future.
14           88.    As the direct and legal result of Defendants’ conduct, Plaintiff suffered and
15     will continue to suffer damages, including but not limited to those set forth above, and
16     is entitled to statutory damages under Cal. Civ. Code § 52, including damages up to
17     three times Plaintiff’s actual damages but no less than $4,000 for every offense of
18     California Civil Code § 51 et seq., as well as compensatory and punitive damages and
19     attorneys’ fees.
20                                 SIXTH CLAIM FOR RELIEF
21                                            ASSAULT
22                              (By Plaintiff Against All Defendants)
23           89.    Plaintiff realleges and incorporates by reference each and every allegation
24     contained above as though fully set forth herein.
25           90.    Officer Defendants drew their weapons and aimed them at Plaintiff’s
26     person in a threatening manner.
27           91.    Plaintiff reasonably believed that Officer Defendants would shoot him.
28           92.    Plaintiff did not consent to Officer Defendants’ conduct.

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 1           93.     As a direct and proximate result of the aforementioned acts or omissions of
 2     Officer Defendants, Plaintiff has suffered and continues to suffer emotional injury.
 3           94.     Upon information and belief, each of the Officer Defendants was either
 4     personally involved and/or aided and abetted in the violation of Plaintiff’s constitutional
 5     rights. Each Officer knew that the other Officers were committing unlawful actions
 6     against Plaintiff as they planned to and did unlawfully aim their weapons at Plaintiff.
 7     Each Officer gave substantial assistance or encouragement to the other Officers and
 8     each Officer’s conduct was a substantial fact in causing harm to Plaintiff.
 9           95.     LAPD Chief Michel Moore, a final policymaker for the City of Los
10     Angeles, approved and/or ratified the unconstitutional policy guiding the Officer
11     Defendants’ unlawful acts, and approved and/or ratified the actions and omissions of
12     the Defendant Officers and the other involved officers in that he had knowledge of and
13     made a deliberate choice to approve their unlawful acts and omissions. Upon
14     information and belief, the City took no action in response to Plaintiff’s allegations and
15     none of the involved Officers have been disciplined.
16           96.     The City of Los Angeles is vicariously liable for the actions of the Officer
17     Defendants.
18           97.     In doing the foregoing wrongful acts, Defendants, and each of them, acted
19     with conscious disregard of Plaintiff’s rights. Said Defendants’ conduct was willful,
20     wanton, malicious, and oppressive, thereby justifying an award of exemplary and
21     punitive damages against each individual Officer Defendant in their individual
22     capacities (but not against the entity Defendant) to punish the wrongful conduct alleged
23     herein and to deter such conduct in the future.
24                                SEVENTH CLAIM FOR RELIEF
25                                BATTERY BY PEACE OFFICER
26                              (By Plaintiff Against All Defendants)
27           98.     Plaintiff realleges and incorporates by reference each and every allegation
28     contained above as though fully set forth herein.

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 1            99.    Defendant Officers intentionally touched Plaintiff including forcefully
 2     handcuffing him, forcing him to prone out in the middle of the street, and putting the
 3     handcuffs on so tightly that Plaintiff’s hands went numb.
 4            100. Defendants Officers used unreasonable force while intentionally touching
 5     Plaintiff.
 6            101. Plaintiff did not consent to the Officers’ uses of force.
 7            102. Plaintiff was harmed by the Officers’ uses of force, which has caused him
 8     to suffer injuries including pain, suffering, and emotional injuries.
 9            103. Each of the Officer Defendants was either personally involved and/or aided
10     and abetted in the violation of Plaintiff’s constitutional rights. Each Officer knew that
11     the other Officers were committing unlawful actions against Plaintiff as they planned to
12     and did use excessive force against Plaintiff. Each Officer gave substantial assistance
13     or encouragement to the other Officers and each Officer’s conduct was a substantial fact
14     in causing harm to Plaintiff.
15            104. As a direct and proximate result of the aforementioned acts and/or
16     omissions of Defendants, Plaintiff sustained pain, suffering, and emotional injury.
17            105. LAPD Chief Michel Moore, a final policymaker for the City of Los
18     Angeles, approved and/or ratified the unconstitutional policy guiding the Officer
19     Defendants’ unlawful acts, and approved and/or ratified the actions and omissions of
20     the Defendant Officers and the other involved officers in that he had knowledge of and
21     made a deliberate choice to approve their unlawful acts and omissions. Upon
22     information and belief, the City took no action in response to Plaintiff’s allegations and
23     none of the involved Officers have been disciplined.
24            106. The City of Los Angeles is vicariously liable for the actions of the Officer
25     Defendants.
26            107. In doing the foregoing wrongful acts, Defendants, and each of them, acted
27     with conscious disregard of Plaintiff’s rights. Said Defendants’ conduct was willful,
28     wanton, malicious, and oppressive, thereby justifying an award of exemplary and

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 1     punitive damages against each individual Officer Defendant in their individual
 2     capacities (but not against the entity Defendant) to punish the wrongful conduct alleged
 3     herein and to deter such conduct in the future.
 4                                 EIGHTH CLAIM FOR RELIEF
 5                 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 6                              (By Plaintiff Against All Defendants)
 7            108. Plaintiff realleges and incorporates by reference each and every allegation
 8     contained above as though fully set forth herein.
 9            109. Officer Defendants’ actions performing a “high risk” stop of Plaintiff,
10     drawing their guns, pointing their weapons at Plaintiff, forcing Plaintiff to lie proned
11     out in the street, violently handcuffing Plaintiff, detaining Plaintiff, and searching
12     vehicle, was outrageous. This conduct was performed with reckless disregard to the
13     effect that these actions and omissions would have upon Plaintiff, including emotional
14     distress.
15            110. As a direct and proximate result of the aforementioned acts or omissions of
16     Officer Defendants, Plaintiff suffered injuries including pain, suffering, and severe
17     emotional injury.
18            111. LAPD Chief Michel Moore, a final policymaker for the City of Los
19     Angeles, approved and/or ratified the unconstitutional policy guiding the Officer
20     Defendants’ unlawful acts, and approved and/or ratified the actions and omissions of
21     the Defendant Officers and the other involved officers in that he had knowledge of and
22     made a deliberate choice to approve their unlawful acts and omissions. Upon
23     information and belief, the City took no action in response to Plaintiff’s allegations and
24     none of the involved Officers have been disciplined.
25            112. The City of Los Angeles is vicariously liable for the actions of the Officer
26     Defendants.
27            113. In doing the foregoing wrongful acts, Defendants, and each of them, acted
28     with conscious disregard of Plaintiff’s rights. Said Defendants’ conduct was willful,

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 1     wanton, malicious, and oppressive, thereby justifying an award of exemplary and
 2     punitive damages against each individual Officer Defendant in their individual
 3     capacities (but not against the entity Defendant) to punish the wrongful conduct alleged
 4     herein and to deter such conduct in the future.
 5                                 NINTH CLAIM FOR RELIEF
 6                                          NEGLIGENCE
 7                              (By Plaintiff Against All Defendants)
 8            114. Plaintiff realleges and incorporates by reference each and every allegation
 9     contained above as though fully set forth herein.
10            115. The conduct of the Officer Defendants as set forth herein, was tortious in
11     that Defendants breached their duty of care to Plaintiff, an unarmed man besieged by at
12     least seven police officers, when the Officer Defendants performed a “high risk” stop,
13     searched Plaintiff’s vehicle, used excessive force against Plaintiff including by proning
14     him out in the middle of the street, pointing guns at him, violently handcuffing him, and
15     detaining him in a police car for a lengthy period of time.
16            116. The City failed to appropriately hire, supervise, train, review, and ensure
17     that their Officers abided by the standard of care, failed to enact appropriate standards
18     and procedures that would have prevented such harms to Plaintiff, including failing to
19     train LAPD Officers (1) not to use high risk traffic stops based only on suspicion of a
20     stolen vehicle arising from unverified CLETS data, and (2) not to use excessive force or
21     perform de facto arrests or vehicular searches in situations where such actions are not
22     justified.
23            117. Each of the Officer Defendants was either personally involved and/or aided
24     and abetted in the breach of a duty to care toward Plaintiff. Each Officer knew that the
25     other Officers were committing unlawful actions against Plaintiff as they planned to and
26     did unlawfully arrest Plaintiff, search Plaintiff’s vehicle, use excessive force against
27     Plaintiff, and detain Plaintiff in a police car. Each Officer gave substantial assistance or
28     encouragement to the other Officers and each Officer’s conduct was a substantial fact in

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 1     causing harm to Plaintiff.
 2           118. As a direct and proximate result of Defendants’ conduct as alleged herein,
 3     Plaintiff sustained and incurred physical and emotional damages.
 4           119. LAPD Chief Michel Moore, a final policymaker for the City of Los
 5     Angeles, approved and/or ratified the unconstitutional policy guiding the Officer
 6     Defendants’ unlawful acts, and approved and/or ratified the actions and omissions of
 7     the Defendant Officers and the other involved officers in that he had knowledge of and
 8     made a deliberate choice to approve their unlawful acts and omissions. Upon
 9     information and belief, the City took no action in response to Plaintiff’s allegations and
10     none of the involved Officers have been disciplined.
11           120. The City of Los Angeles is vicariously liable for the actions of the Officer
12     Defendants.
13           121. In doing the foregoing wrongful acts, the Officer Defendants, and each of
14     them, acted with conscious disregard of Plaintiff’s rights. Said Defendants’ conduct
15     was willful, wanton, malicious, and oppressive, thereby justifying an award of
16     exemplary and punitive damages against each individual Officer Defendant in their
17     individual capacities (but not against the entity Defendant) to punish the wrongful
18     conduct alleged herein and to deter such conduct in the future.
19                                     PRAYER FOR RELIEF
20           WHEREFORE, Plaintiff prays for the following relief:
21           1.      For compensatory, general and special damages against each Defendant,
22     jointly and severally, amounts to be proven at trial;
23           2.      For punitive and exemplary damages against individually named
24     Defendant Chief of Police Michel Moore and Defendant Officers DOES 1-10 in their
25     individual capacities and in an amount appropriate to punish Defendants and deter
26     others from engaging in similar misconduct;
27           3.      Prejudgment and post-judgment interest;
28           4.      For costs and suits and reasonable attorneys’ fees and costs as authorized

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 1     by statute or law;
 2           5.     For restitution as the Court deems just and proper;
 3           6.     For injunctive and declaratory relief; and
 4           7.     For such other relief as the Court may deem proper.
 5                                 DEMAND FOR JURY TRIAL
 6           Plaintiff hereby demands trial by jury in this action.
 7
 8     Dated: April 20, 2022                  Respectfully Submitted,
 9                                            HADSELL STORMER RENICK & DAI LLP
10
11                                            By:    /s/ Cathi Choi
                                                    Dan Stormer
12                                                  Brian Olney
                                                    Cathi Choi
13                                            Attorneys for Plaintiff
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        COMPLAINT FOR DAMAGES                       -27-
